      Case 2:18-cr-00422-DJH Document 192 Filed 06/13/18 Page 1 of 12



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16
17                        IN THE UNITED STATES DISTRICT COURT

18                             FOR THE DISTRICT OF ARIZONA

19   United States of America,                               CR-18-422-PHX-SPL (BSB)
20                         Plaintiff,                      UNITED STATES’ REPLY IN
21                                                          SUPPORT OF MOTION TO
              v.                                             DISQUALIFY COUNSEL
22                                                               (HCM FIRM)

23   Michael Lacey, et al.,                                  [Reply to CRs 174 and 176]

24                         Defendants.
                    INTRODUCTION AND SUMMARY OF ARGUMENT
25
            From 2012-17, the law firm of Henze Cook Murphy (“HCM”) has served as Carl
26
     Ferrer’s personal criminal counsel and represented Ferrer in an array of lawsuits. Over this
27
     span, the HCM firm has prepared Ferrer to be deposed, obtained confidences from Ferrer,
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      Case 2:18-cr-00422-DJH Document 192 Filed 06/13/18 Page 2 of 12




 1   and otherwise shaped Ferrer’s legal strategy. The crux of that strategy was to deny that
 2   Backpage had engaged in any wrongdoing with respect to the publication of advertisements
 3   for child and adult prostitution.
 4          Recently, Ferrer chose to obtain new counsel, terminate his relationship with the
 5   HCM firm, plead guilty to Backpage-related charges, and cooperate in the pursuit of
 6   criminal charges against other Backpage principals, including Michael Lacey.
 7   Remarkably, the HCM firm responded by filing a notice of appearance on behalf of Lacey.
 8   This prompted the United States to file a motion to disqualify. In response, Lacey (CR
 9   174) and the HCM firm (CR 176) have filed opposition briefs.
10          Notably, both of the HCM-related briefs concede the HCM firm cannot ethically
11   serve as trial counsel in this case due to the firm’s prior representation of Mr. Ferrer. For
12   example, Lacey acknowledges “that HCM cannot participate in his defense at trial because
13   HCM could not cross-examine Mr. Ferrer.” See CR 174 at 3. Similarly, the HCM firm
14   acknowledges that its role must be “closely circumscribed” and “dramatically limit[ed]”
15   and that it cannot participate in any way “in cross-examination or preparation for cross-
16   examination.” See CR 176 at 10-12. Despite these important concessions, however, Lacey
17   and the HCM firm urge the Court to deny the disqualification motion because (1) the HCM
18   firm will agree to limit its representation to a handful of discrete issues that are purportedly
19   not adverse to Mr. Ferrer, (2) Ferrer purportedly waived his attorney-client privilege with
20   respect to HCM, and (3) Ferrer did not explicitly join in the disqualification motion.
21          As explained below, these arguments are unavailing. First, this Court’s rules do not
22   permit the sort of “limited representation” arrangement being proposed by the defense. An
23   attorney who enters an appearance in a criminal case is responsible for all issues in the case
24   and cannot seek to carve out a preferred subset of issues to litigate while disclaiming
25   responsibility for everything else. The law of the Ninth Circuit, the applicable ethical rules,
26   and common sense all make clear that, once the sort of stark ethical conflict at issue here
27   (i.e., defense counsel served for five years as the cooperator’s personal attorneys) arises,
28   the only remedy is disqualification. Furthermore, it is simply not true that, by limiting its


                                                  -2-
      Case 2:18-cr-00422-DJH Document 192 Filed 06/13/18 Page 3 of 12




 1   role to litigating forfeiture-related issues on Lacey’s behalf, the HCM firm can avoid any
 2   adversity with Ferrer.     The forfeiture proceedings are virtually certain to involve a
 3   sustained attack by the defense on Ferrer’s credibility and an attempt to impeach Ferrer
 4   with prior statements he made while being represented by the HCM firm.
 5          Second, the claim that Ferrer waived the privilege as to the HCM firm is both
 6   inaccurate and irrelevant. Ferrer’s waiver only applied to Backpage’s corporate attorney-
 7   client privilege, not his personal privilege with current or former counsel. Moreover, even
 8   if there were a personal waiver, disqualification is mandated because the HCM firm owes
 9   a duty of loyalty to Ferrer—a duty that is more expansive than the duty to maintain the
10   confidentiality of privileged information.
11          Third, and finally, the fact Ferrer did not formally “join” in the disqualification
12   motion is a red herring.      Multiple courts have recognized that such a joinder is
13   unnecessary—the United States and the Court have an independent interest in ensuring the
14   integrity of judicial proceedings. In any event, Ferrer’s conduct should not be viewed as
15   some tacit acknowledgement that the HCM’s continued participation in this case is
16   acceptable to him. Ferrer previously wrote a letter to the HCM firm objecting to its
17   representation of Lacey and has further explained, in a declaration filed concurrently with
18   this reply, that he didn’t join in the government’s motion simply because he didn’t think it
19   was necessary to do so.
20                                         ARGUMENT
21   A.     The Proposed “Limited Representation” Arrangement Is Improper And Would Not
22          Cure The Conflict
23          The primary argument developed in the two HCM-related briefs is that the HCM
24   firm shouldn’t be disqualified because it will agree to provide “limited representation . . .
25   on compliance with conditions of release, forfeiture, and unrelated personal matters” and
26   will agree not to “act[] as trial counsel or shar[e] any confidential information with Mr.
27   Lacey’s trial counsel in this prosecution.” See CR 174 at 3-4. The defense contends that,
28   once the scope of the HCM firm’s representation is limited in this fashion, its participation


                                                  -3-
         Case 2:18-cr-00422-DJH Document 192 Filed 06/13/18 Page 4 of 12




 1   will “present[] no actual or potential conflict with its prior representation of Mr. Ferrer
 2   under Rule 1.9.” See CR 174 at 8-9. See also CR 176 at 9 (“By narrowly crafting HCM’s
 3   representation of Mr. Lacey, HCM has insured that its former client, Mr. Lacey, will
 4   receive the benefit of ER 1.9.”).
 5            These arguments lack merit. As an initial matter, this Court’s rules do not permit a
 6   law firm to make a limited appearance on behalf of a criminal defendant, designate the
 7   subset of issues it wishes to be responsible for handling, and disclaim any responsibility
 8   for the remaining issues in the case. To the contrary, when an attorney or law firm enters
 9   a notice of appearance, it “shall be deemed responsible as attorney of record in all matters
10   before and after judgment until the time for appeal expires or until there has been a formal
11   withdrawal from or substitution in the case.” See Ariz. L.R. Civ. P. 83.3(a) (emphasis
12   added). See also Ariz. L.R. Crim. P. 57.14 (adopting same rule in criminal cases).1
13            The defense’s unusual proposal would also create practical difficulties. Put simply,
14   there would be no way for the United States, Ferrer, or the Court to verify whether the
15   HCM firm was actually limiting its representation to the three topics identified in the
16   opposition brief (i.e., forfeiture, release conditions, and “personal matters”). During the
17   parties’ meet-and-confer process, the HCM firm’s proposed areas of representation were
18   not limited to those three topics but also encompassed other areas, such as managing the
19   defense team’s document database and “developing legal arguments,” that are amorphous
20   and could easily be adverse to Ferrer. See Exhibit A (letter from defense counsel). The
21   defense’s recent change in position only underscores the intractable monitoring problems
22   that would arise if its proposal were accepted.
23            It is also notable that, despite providing 29 pages’ worth of briefing and argument,
24
25
     1
             Furthermore, although some other Districts authorize limited scope representation
26
     in certain circumstances, such representation is particularly disfavored in criminal cases.
27   See District of Colorado’s website (“Limited Scope Representation (LSR). . . is permitted
     in the U.S. District Court for the District of Colorado in all civil cases . . . but NOT criminal
28   cases . . . .”).

                                                   -4-
      Case 2:18-cr-00422-DJH Document 192 Filed 06/13/18 Page 5 of 12




 1   the two HCM-related briefs barely acknowledge—let alone attempt to distinguish—
 2   Arizona Ethics Opinion 91-05, which was discussed in extensive detail in the United
 3   States’ motion. This opinion forbids exactly what the defense is attempting to do here (i.e.,
 4   attempt to cure a conflict of interest by limiting the scope of the conflicted attorney’s
 5   representation). See Az. Ethics Op. 91-05 (“[The former client] will thus be confronted
 6   with the uncomfortable fact that her former lawyers are cooperating closely with a lawyer
 7   who will cross examine her at trial. ER 1.9(a) is designed to prevent precisely such
 8   discomfort from arising.”). See also Roosevelt Irr. Dist. v. Salt River Project Agr. Imp. &
 9   Power Dist., 810 F. Supp. 929, 950-57 (D. Ariz. 2011) (analyzing interplay between
10   Arizona Ethical Rules 1.9 and 1.10, expressing “grave concerns” about efficacy of
11   screening, and emphasizing that a screened attorney must, in any event, have no role in the
12   new case posing the conflict).
13          The defense’s proposal also fails under Ninth Circuit law, which, like Arizona law,
14   recognizes that the remedy for a conflict under ER 1.9(a) is disqualification, not using
15   ethical screens or having conflicted counsel promise to limit its work to some subset of
16   issues. See, e.g., United States v. Stites, 56 F.3d 1020, 1025 (9th Cir. 1995) (affirming
17   disqualification order in criminal case and emphasizing that the district court was correct
18   to “treat . . . skeptically” the defense’s proposal to set up an internal screen because such
19   “an unusual arrangement [would be] almost impossible to monitor. The Chinese wall
20   might have crumbled. It was within the discretion of the district court to reject it.”); United
21   States v. Vargas-Martinez, 569 F.2d 1102, 1104 (9th Cir. 1978) (affirming disqualification
22   of defense attorney due to prior representation of cooperating witness in state-court
23   proceeding: “While a defendant’s choice of counsel should not be subject to unnecessary
24   interference, this right is not unlimited. . . . [T]he only possible method of adequately
25   resolving the problem was to order substitution of counsel . . . .”) (emphasis added). Cf.
26   United States v. Stepney, 246 F. Supp. 2d 1069, 1085 (N.D. Cal. 2003) (recognizing “the
27   general principle that where an attorney has actually obtained confidential information
28   relevant to her representation of a client, the law presumes that she cannot avoid relying on


                                                  -5-
         Case 2:18-cr-00422-DJH Document 192 Filed 06/13/18 Page 6 of 12




 1   the information—however indirectly or unintentionally—in forming legal advice and trial
 2   strategy”). 2
 3            Finally, the HCM firm’s “limited representation” proposal also should be rejected
 4   because one of the issues the HCM firm wishes to continue litigating—forfeiture—would
 5   create a significant risk of adversity with Ferrer. One of the key disputed issues in the
 6   forfeiture proceedings will be whether the Backpage-derived money that was routed
 7   through Lacey’s bank accounts was tainted. Ferrer’s guilty plea, and the guilty plea that
 8   Ferrer entered on behalf of Backpage, provide strong support for the government’s view
 9   that the money is tainted. As a result, it is a virtual certainty that Lacey will seek to attack
10   Ferrer’s credibility (and the admissions contained in his plea agreements) as part of the
11   forfeiture proceedings.
12            Indeed, it is anticipated that such forfeiture-related impeachment efforts will include
13   impeaching Ferrer with prior testimony he provided while being represented by the HCM
14   firm. In August 2015, Ferrer was deposed as part of the Backpage v. Dart case. The
15   attorneys representing Ferrer during that deposition were Tom Henze and Janey Henze
16   Cook, and Mr. Henze explained at the outset that, in an effort to prepare Ferrer to be
17   deposed, he had spent “four to six hours . . . where we had Mr. Ferrer in the room.” See
18   Exhibit B at 12:1-10 (deposition excepts). Moreover, during recent proceedings in the Dart
19   case, the law firm of Davis Wright Tremaine (“DWT”) announced that it intends to use
20   this deposition testimony to impeach Ferrer’s guilty plea. See Exhibit C at 13 (“Mr.
21
22
     2
23           Although the defense has identified two decisions from outside the Ninth Circuit
     that approved the use of internal screens within the defense team to cure ethical conflicts,
24   see United States v. Lorenzana-Cordon, 125 F. Supp. 3d 129 (D.D.C. 2015), and United
     States v. Caramadre, 892 F. Supp. 2d 397 (D.R.I. 2012), these non-binding decisions
25   obviously cannot override Arizona and Ninth Circuit law. Moreover, those decisions are
     distinguishable because the former client in each case consented to the representation
26   arrangement. Lorenzana-Cordon, 125 F. Supp. 3d at 138-39 (“[M]ost of the cases . . . in
     which courts rejected similar ‘Chinese Wall’ arrangements were complicated by the fact
27   that either the defendant or the witness or both did not provide voluntary and knowing
     consent to . . . the ‘Chinese Wall’ arrangement. [Here], the witness consented to conflicted
28   representation . . . and to the arrangement with Mr. Katzoff as second counsel.”);
     Caramadre, 892 F. Supp. 2d at 401 (same).

                                                   -6-
         Case 2:18-cr-00422-DJH Document 192 Filed 06/13/18 Page 7 of 12




 1   Ferrer’s statements in connection with his negotiated plea agreements are inconsistent with
 2   his prior sworn testimony in certain respects, and he will have to answer for the
 3   contradictions on his own.”).3
 4            It is difficult to imagine a scenario where the conflicts of interest could be more
 5   stark. HCM wishes to represent Lacey in a forfeiture proceeding in which Lacey will seek
 6   to use Ferrer’s previous deposition testimony—testimony the HCM firm helped develop
 7   and defend while serving as Ferrer’s criminal counsel—to undermine Ferrer’s credibility.
 8   Disqualification is required to avoid this unseemly spectacle.
 9   B.       The Privilege Waiver Arguments Are Inaccurate And Irrelevant
10            Lacey argues—in a section of his brief conspicuously devoid of any supporting case
11   law—that the disqualification motion must be denied because Ferrer has waived his
12   attorney-client privilege with the HCM firm. See CR 174 at 7-8. See also CR 176 at 7
13   (same).
14            This argument is easily rejected. As a threshold matter, it is not true that Ferrer has
15   waived his personal attorney-client privilege with the HCM firm. On April 5, 2018, Ferrer
16   executed a two-page document entitled “Waiver of Attorney Client Privilege.” It is
17   enclosed as part of Exhibit B to Lacey’s motion. In the last paragraph of this document,
18   Ferrer made clear that he was only waiving Backpage’s corporate attorney-client privilege
19   and was not waiving his personal attorney-client privilege, either with his current attorneys
20   (from the Clarence Dyer law firm) or with any attorneys who previously represented him
21   on an individual basis: “I further state that this waiver does not apply to any aspect . . . of
22
23
     3
             During a recent hearing in R.O. v. Medalist Holdings (a tort lawsuit brought by a
24
     trafficking victim against Ferrer, Lacey, and Larkin), the DWT firm made similar
25   statements. See Exhibit D at 53:24 – 54:1 (“Mr. Ferrer may be subject to cross-examination
     or discovery about his prior inconsistent statements.”). Notably, at the conclusion of the
26
     R.O. hearing, the trial judge disqualified DWT from representing Larkin and Lacey, finding
27   that the case posed such “intertwined” conflicts of interest that DWT’s continued
     participation would “create an injustice on the administration of justice.” See Exhibit D at
28   61:12-19.

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      Case 2:18-cr-00422-DJH Document 192 Filed 06/13/18 Page 8 of 12




 1   my personal attorney-client relationship with attorneys who have represented me in the
 2   past or who currently represent me . . . .” Id. (emphasis added). The United States
 3   explained this distinction in a letter to defense counsel. See Exhibit E.
 4          Ignoring this document, Lacey points to a separate document—a “proffer
 5   agreement” that Ferrer executed on April 5, 2018—as the basis for his claim that Ferrer
 6   has waived his personal attorney-client privilege with the HCM firm. In particular, Lacey
 7   points to the proffer agreement’s second paragraph, which states:
 8          Mr. Ferrer voluntarily waives all claims of attorney-client privilege, whether in his
            personal or official capacity as the Chief Executive Officer of Backpage.com, LLC
 9
            as to communications with any attorney or law firm that represented
10          Backpage.com, or any related entity, where such communications concerned or
            related to Backpage.com or any related entity.
11
12   See CR 174, Exhibit B, at 2 ¶ B (emphasis added). Although this language is not a model

13   of clarity, it was the parties’ intention that it would simply track the approach set forth in

14   the formal “Waiver of Attorney Client Privilege” document—that is, it would only waive

15   Backpage’s corporate attorney-client privilege but not Ferrer’s personal privilege. See

16   Exhibit F, ¶ 45 (Ferrer declaration).         This is why the waiver only applied to

17   “communications with any attorney or law firm that represented Backpage.com, or any

18   related entity.” It was not meant to apply to attorneys and law firms that represented Ferrer

19   in a personal capacity (such as the HCM firm). The prefatory language at the beginning of

20   the paragraph, discussing Ferrer’s “personal or official capacity,” was simply meant to

21   demonstrate that Ferrer had a basis for effectuating the corporate privilege waiver.

22          Furthermore, even if the language in the proffer agreement could be construed as

23   encompassing Ferrer’s personal attorney-client privilege with the HCM firm, the waiver

24   was not an irrevocable or permanent one—it was simply a conditional agreement that,

25   during Ferrer’s proffer sessions with the government, he would agree to discuss matters

26   related to the HCM firm if asked to do so. This topic, however, has never been broached

27   during Ferrer’s proffer sessions. Accordingly, nothing has been waived.

28          Finally, the defense’s waiver arguments also fail for a more fundamental reason.


                                                 -8-
         Case 2:18-cr-00422-DJH Document 192 Filed 06/13/18 Page 9 of 12




 1   Disqualification is required in this circumstance because the HCM firm owes a duty of
 2   loyalty to Ferrer, which is broader than the duty to maintain confidences. As the Ninth
 3   Circuit has explained: “Disqualification does not depend upon proof of the abuse of
 4   confidential information.     Because of the sensitivity of client confidence and the
 5   profession’s institutional need to avoid even the appearance of a breach of confidence,
 6   disqualification is required when lawyers change sides in factually related cases.” Trone
 7   v. Smith, 621 F.2d 994, 1001 (9th Cir. 1980). For this reason, courts have ordered
 8   disqualification under Rule 1.9 even where the former client’s communications with
 9   counsel have lost their confidentiality. See, e.g., United States v. Fawell, 2002 WL
10   1284388 (N.D. Ill. 2002) (“[T]he court does not agree that the [loss of confidentiality]
11   eliminates the conflict resulting from Altheimer’s prior representation . . . . That suggestion
12   assumes that the purpose of Rule 1.9(a) is limited to protecting the former client’s secrets.
13   Other courts and commentators do not view the purpose so narrowly; they conclude instead
14   that the prohibition against representation of another person in a same or substantially
15   related matter relates both to the lawyer’s duty of confidentiality and his or her duty of
16   loyalty to that former client.”).4 Put simply, under Rule 1.9, and absent informed consent,5
17   “[a] lawyer who has formerly represented a client in a matter shall not thereafter represent
18
19   4
            See also Touchcom, Inc. v. Bereskin & Parr, 299 Fed. App’x 953, 955 (Fed. Cir.
20   2008) (granting disqualification motion and emphasizing that Rule 1.9 “safeguards not
     only confidentiality, but also the client’s expectation of the attorney’s loyalty and public
21   confidence in the integrity of the bar”); Sec. Investor Protection Corp. v. R.D. Kushnir &
22   Co., 246 B.R. 582, 589 (N.D. Ill. Bkr. Ct. 2000) (“Rule 1.9 is not limited to situations
     where a former client would be harmed by the divulgence of confidential information. . . .
23   [T]he loyalty principle is an independent and sufficient basis for precluding a lawyer from
24   accepting an adverse subsequent representation.”); Selby v. Revlon Consumer Prods.
     Corp., 6 F. Supp. 2d 577, 582 (N.D. Tex. 1997) (“[T]he ethical obligations embodied in
25   ABA Rule 1.9 go far beyond the preservation of client confidences. The rule also concerns
26   the duty of loyalty to a former client.”).
     5
            Lacey suggests the proffer agreement is tantamount to an “informed consent”
27
     authorizing the HCM firm to represent Lacey. See CR 174 at 7. This claim requires little
28   discussion. A privilege waiver is not the same thing as a conflict waiver.


                                                  -9-
     Case 2:18-cr-00422-DJH Document 192 Filed 06/13/18 Page 10 of 12




 1   another person in the same or a substantially related matter in which that person’s interests
 2   are materially adverse to the interests of the former client.” See generally Foulke v. Knuck,
 3   794 P.2d 723, 728 (Ariz. Ct. App. 1989) (“ER 1.9(a) . . . does not require that confidences
 4   and secrets be divulged in order for a conflict to exist or for disqualification to be proper.
 5   Regardless of what was communicated during the representation of the former client, the
 6   rule prohibits subsequent representation of an individual whose interests are substantially
 7   adverse to those of the former client.”); Ariz. R. Prof. Conduct 1.9, comment 2 (“The
 8   underlying question is whether the lawyer was so involved in the matter that the subsequent
 9   representation can be justly regarded as a changing of sides in the matter in question.”).
10   C.     The Absence Of A Formal “Joinder” Is A Red Herring
11          The defense’s final argument is that the Court should refrain from ordering
12   disqualification “because Mr. Ferrer . . . declined to participate in the Government’s
13   motion.” See CR 174 at 2. See also CR 176 at 12 (same). Lacey contends that the “failure
14   to join the Government’s Motion strongly suggests the government is seeking
15   disqualification for its own tactical reasons.” See CR 174 at 8.
16          This argument misses the mark. Time and again, the courts have rejected the notion
17   that a cooperator must formally “join” in the government’s disqualification motion. See,
18   e.g., United States v. Kight, 2017 WL 4619024, *13 n.19 (N.D. Ga. 2017) (“[T]he Court
19   rejects Kight’s argument that the Government, without Lankford’s permission, is precluded
20   from seeking Armstrong’s disqualification or that Lankford was required to join in the
21   Government’s Motion.”). As one court has explained, this argument “gives short shrift to
22   the respective interests of the Government and the Court in ensuring that judgments remain
23   intact on appeal” and “betray[s] a conception of the interests at stake . . . which is both
24   unduly narrow and overly simplistic.” United States v. Culp, 934 F. Supp. 394, 399 (M.D.
25   Fla. 1996). Indeed, even if the government hadn’t filed a motion, the Court would possess
26   the independent authority to inquire into the potential conflicts posed by the representation
27   arrangements in this case and, if necessary, order disqualification. Stepney, 246 F. Supp.
28   2d at 1077 (“These supervisory powers unquestionably allow courts to require disclosure


                                                 - 10 -
     Case 2:18-cr-00422-DJH Document 192 Filed 06/13/18 Page 11 of 12




 1   of the precise nature of a criminal defendant’s representation to ensure that no conflict of
 2   interest exists . . . . Courts have routinely intervened—prior to any controversy arising—
 3   where the circumstances of a criminal defendant’s representation raises the potential for
 4   conflict of interest during the course of the proceedings, even before intervention is
 5   required by statutory or constitutional rule.”).
 6          Finally, the defense should know better than to suggest that Ferrer is somehow
 7   agnostic to the issues presented here. On April 13, 2018, Ferrer wrote a letter to the HCM
 8   firm in which he practically begged Mr. Henze and Ms. Henze Cook to comply with their
 9   ethical duties under ER 1.9, emphasized that there was “a direct, incurable conflict between
10   me and Mr. Lacey and Mr. Larkin,” and made clear that he was not consenting to their
11   continued participation in this case. That letter was enclosed as Exhibit B to the United
12   States’ disqualification motion. It is disingenuous for the defense to ascribe some nefarious
13   motive to the government under these circumstances. Furthermore, Ferrer has now
14   explained, in paragraphs 3-8 of the declaration enclosed as Exhibit F, that he strongly
15   opposes the HCM firm’s efforts to represent Lacey and simply didn’t think it was necessary
16   to join in the government’s motion.
17          Respectfully submitted this 13th day of June, 2018.
18                                              ELIZABETH A. STRANGE
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     Case 2:18-cr-00422-DJH Document 192 Filed 06/13/18 Page 12 of 12



                                               Child Exploitation and Obscenity Section
 1
 2                                       Certificate of Service
 3   I hereby certify that on this date, I electronically transmitted the attached document to the
     Clerk’s Office using the CM/ECF system for filing and transmittal of a Notice of Electronic
 4   Filing to the following CM/ECF registrants: Anne Chapman, Erin McCampbell, James
     Grant, Lee Stein, Paul Cambria, Robert Corn-Revere, Ronald London, Janey Henze Cook,
 5
     John Littrell, Kenneth Miller, Thomas Bienart, Jr., Bruce Feder, Michael Kimerer, Rhonda
 6   Neff, KC Maxwell, David Wakukawa, Michael Piccarreta, Stephen Weiss.
 7
     s/ Sally Hawley
 8   U.S. Attorney’s Office
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